






Opinion issued April 10, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-01007-CV






EBY ENGINEERS,INC. AND EBY ENGINEERS, LLP,  Appellants


V.

METRO CITY CONSTRUCTION, LLP,  Appellee






On Appeal from the 190th District Court

Harris County, Texas

Trial Court Cause No. 2007-04775






MEMORANDUM OPINION	Appellant has neither established indigence, nor paid all the required fees.  See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov't Code Ann. §§
51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of appeals); Fees Civ.
Cases B(1), (3) (listing fees in court of appeals).  After being notified that this appeal
was subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
5 (allowing enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Higley.


